   Case: 1:20-cv-01036 Document #: 57 Filed: 06/29/20 Page 1 of 3 PageID #:2164




                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


   General Tools & Instruments, LLC,

           Plaintiff,                                      Case No.: 1:20-cv-01036

   v.                                                      Judge Jorge L. Alonso

   THE PARTNERSHIPS AND                                    Magistrate Judge Susan E. Cox
   UNINCORPORATED ASSOCIATIONS
   IDENTIFIED ON SCHEDULE “A”,

           Defendants.


                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                     DEFENDANT
                46                                 WUYAOWANG Game
                551                               Tinghui Trading Co., Ltd.
                560                                  DoersuppTool Store
                561                                   Teamtop IC Store
                591                           Muggle HardwareParadise Store
                344                                     Beststar Shop
                403                                       OscenLife
                283                                     youngsquare
                365                                     DreamTop99
                437                                        Pongan
   Case: 1:20-cv-01036 Document #: 57 Filed: 06/29/20 Page 2 of 3 PageID #:2165




DATED: June 28, 2020                        Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            111 West Jackson Boulevard, Suite 1700
                                            Chicago, Illinois 60604
                                            Telephone: 312-675-6079
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
    Case: 1:20-cv-01036 Document #: 57 Filed: 06/29/20 Page 3 of 3 PageID #:2166




                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on June 28, 2020 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
